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                                                1   KARA B. HENDRICKS, ESQ.
                                                    Nevada Bar No. 07743
                                                2   JASON K. HICKS, ESQ.
                                                    Nevada Bar No. 13149
                                                3   KYLE A. EWING, ESQ.
                                                    Nevada Bar No. 014051
                                                4   GREENBERG TRAURIG, LLP
                                                    10845 Griffith Peak Drive, Suite 600
                                                5   Las Vegas, Nevada 89135
                                                    Telephone: (702) 792-3773
                                                6   Facsimile: (702) 792-9002
                                                    Email: hendricksk@gtlaw.com
                                                7           hicksja@gtlaw.com
                                                            ewingk@gtlaw.com
                                                8
                                                    Attorneys for Geoff Winkler, Receiver for
                                                9   J&J Consulting Services, Inc., J&J Consulting Services, Inc.,
                                                    J and J Purchasing LLC, The Judd Irrevocable Trust,
                                               10   and BJ Holdings LLC
                                               11                          IN THE UNITED STATES DISTRICT COURT
                                               12                       FOR THE DISTRICT OF NEVADA
                                                                                     \
GREENBERG TRAURIG, LLP




                                               13   SECURITIES AND EXCHANGE COMMISSION, CASE NO. 2:22-cv-00612-JCM-EJY
                  Facsimile: (702) 792-9002
                  Telephone: (702) 792-3773
                  Las Vegas, Nevada 89135
                   10845 Griffith Peak Drive




                                               14                                 Plaintiff,
                           Suite 600




                                                                                                          [HEARING REQUESTED]
                                               15            vs.                                          MOTION TO COMPEL OR
                                               16   MATTHEW WADE BEASLEY; BEASLEY LAW                     ALTERNATIVE MOTION FOR
                                                    GROUP PC; JEFFREY J. JUDD; CHRISTOPHER                ORDER TO SHOW CAUSE WHY
                                               17   R. HUMPHRIES; J&J CONSULTING SERVICES,                JEFFREY J. JUDD AND/OR THOSE
                                                    INC., an Alaska Corporation; J&J CONSULTING           ACTING ON HIS BEHALF SHOULD
                                               18
                                                    SERVICE, INC., a Nevada Corporation; J AND J          NOT BE HELD IN CONTEMPT FOR
                                               19   PURCHASING LLC; SHANE M. JAGER; JASON                 FAILURE TO COMPLY WITH THIS
                                                    M. JONGEWARD; DENNY SEYBERT; and                      COURT’S ORDER APPOINTING
                                               20   ROLAND TANNER,                                        RECEIVER DUE TO FAILURE TO
                                                                                                          TURN OVER ASSETS
                                               21                                 Defendants,

                                               22   THE JUDD IRREVOCABLE TRUST; PAJ
                                                    CONSULTING INC; BJ HOLDINGS LLC;
                                               23   STIRLING CONSULTING, LLC.; CJ
                                                    INVESTMENTS, LLC; ROCKING HORSE
                                               24   PROPERTIES, LLC; TRIPLE THREAT
                                                    BASKETBALL, LLC; ACAC LLC; ANTHONY
                                               25   MICHAEL ALBERTO, JR., and MONTY CREW
                                                    LLC;
                                               26
                                                                                 Relief Defendants.
                                               27

                                               28

                                                                                                      1
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                                                1           Comes now, Geoff Winkler, the Court-appointed Receiver (the “Receiver”) for J&J

                                                2   Consulting Services, Inc., an Alaska corporation; J&J Consulting Services, Inc., a Nevada

                                                3   corporation; J and J Purchasing LLC; The Judd Irrevocable Trust; and BJ Holdings LLC, and over

                                                4   the Wells Fargo Interest on Lawyers' Trust Account ending in 5598 and held in the name of Beasley

                                                5   Law Group PC, along with the personal assets of Matthew Wade Beasley; Jeffrey J. Judd; Christopher

                                                6   R. Humphries; Shane M. Jager; Jason M. Jongeward; Denny Seybert; and Roland Tanner

                                                7   (collectively, the "Receivership Defendants"), by and through the Receiver’s proposed counsel of

                                                8   record, the law firm of Greenberg Traurig, LLP, and hereby submits the following Motion to Compel

                                                9   or Alternative Motion for Order to Show Cause Why Jeffrey J. Judd and/or those Acting on His
                                               10   Behalf Should not be Held in Contempt for Failure to Comply with this Court’s Order Appointing
                                               11   Receiver (ECF No. 88) Due to Failure to Turn Over Assets (“Motion”).
                                               12           This Motion is based upon the attached Memorandum of Points and Authorities, the exhibits
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                                               13   hereto including the Declarations of Geoff Winkler and Joshua A. del Castillo, the pleadings and
                  Facsimile: (702) 792-9002
                  Telephone: (702) 792-3773
                  Las Vegas, Nevada 89135
                   10845 Griffith Peak Drive




                                               14   papers on file herein, and such other and further arguments and evidence as may be presented to the
                           Suite 600




                                               15   Court in connection with the Motion.
                                               16           Respectfully submitted this 10th day of June 2022
                                               17                                                         GREENBERG TRAURIG, LLP

                                               18
                                                                                                    By:    /s/ Kara B. Hendricks
                                               19                                                          KARA B. HENDRICKS, ESQ.
                                               20                                                          Nevada Bar No. 07743
                                                                                                           JASON K. HICKS, ESQ.
                                               21                                                          Nevada Bar No. 13149
                                                                                                           KYLE A. EWING, ESQ.
                                               22                                                          Nevada Bar No. 014051
                                                                                                           10845 Griffith Peak Drive, Suite 600
                                               23                                                          Las Vegas, Nevada 89135
                                                                                                           Email: hendricksk@gtlaw.com
                                               24                                                                  hicksja@gtlaw.com
                                                                                                                   ewingk@gtlaw.com
                                               25

                                               26                                                          Attorneys for Geoff Winkler, Receiver for
                                                                                                           J&J Consulting Services, Inc., J&J
                                               27                                                          Consulting Services, Inc., J and J
                                                                                                           Purchasing LLC, The Judd Irrevocable
                                               28                                                          Trust, and BJ Holdings LLC

                                                                                                     2
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                                                1                 CERTIFICATION OF EFFORTS TO CONFER PRIOR TO FILING

                                                2           The Receiver and his proposed counsel have conferred with Kevin Anderson, counsel for

                                                3   Jeffery Judd, in good faith attempts to resolve the disputes raised in this Motion without the need for

                                                4   Court intervention. After a sincere effort to do so, including a video conference, telephone call and

                                                5   email/written correspondence, the parties have been unable to resolve the matter without court action,

                                                6   necessitating the instant Motion. See Declaration of Geoff Winkler attached hereto as Exhibit A and

                                                7   Declaration of Joshua A. del Castillo attached hereto as Exhibit B.

                                                8                          MEMORANDUM OF POINTS AND AUTHORITIES

                                                9                                           I.      INTRODUCTION
                                               10           Through this Motion, the Receiver requests an Order to Compel or an Order to Show Cause
                                               11   why Jeffrey J. Judd (“Judd”) and/or those acting on his behalf should not be held in civil contempt
                                               12   for failure to immediately turn over to the Receiver assets as required by this Court’s June 3, 2022
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                                               13   Order Appointing Receiver (ECF No. 88) (the “Appointment Order”). As discussed herein, the
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                  Telephone: (702) 792-3773
                  Las Vegas, Nevada 89135
                   10845 Griffith Peak Drive




                                               14   Appointment Order expressly calls for the turnover of, among other items, the funds currently held
                           Suite 600




                                               15   by counsel in connection with the representation of Judd or any other Receivership Defendant as well
                                               16   as personal property. Based on available information, the Receiver believes that at least $8,050,000
                                               17   in receivership property is being held by various attorneys that purport to represent Judd. 1 These
                                               18   funds should be immediately turned over to the Receiver pursuant to the Appointment Order, and

                                               19   include:

                                               20               FIRM                                                       AMOUNT BELIEVED TO
                                                                                                                             BE HELD BY FIRM
                                               21
                                                                Fabian & Clendenin, PC dba Fabian VanCott                            $750,000
                                               22               Law Offices of Michael L. Peters, Esq.                             $2,750,000
                                               23               Law Offices of Camille Dean, P.C.                                    $250,000
                                                                Oberheiden, P.C.                                                      $2,800,000
                                               24
                                                                John W. Sellers, Esq.                                                 $1,500,000
                                               25                                        TOTAL                                        $8,050,000
                                               26

                                               27   1
                                                      The Receiver has reached out to the law firms and attorneys believed to be holding additional funds on behalf
                                                    of Mr. Judd and has requested the turnover of the same. The Receiver is hopeful the funds will be turned over
                                               28   voluntarily without the need for Court intervention.
                                                                                                          3
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                                                1             Kevin Anderson of the Fabian VanCott Firm has acknowledged the existence of such funds

                                                2   that were received directly from Judd. 2 However, Mr. Anderson has refused to turn over funds held

                                                3   by the Fabian VanCott Firm, claiming that the Appointment Order is unclear as to its turnover

                                                4   requirements, and contending that the funds are needed to pay attorneys to represent Judd, pay for

                                                5   Judd’s necessary and reasonable living expenses and expressed concerns about the SEC’s actions

                                                6   affecting Mr. Judd’s “assets, livelihood, and pursuit of happiness”. See, email correspondence from

                                                7   Mr. Anderson attached hereto as Exhibit C.               In subsequent discussions, Mr. Anderson also

                                                8   maintained that he is not bound to comply with the turnover provisions of the Appointment Order on

                                                9   the grounds that the Appointment Order is allegedly incompatible with other orders of the Court and
                                               10   that the Appointment Order is not applicable to funds to be used in connections with Judd’s legal
                                               11   representation in this case and/or other related matters. Id. and Exs.¶ A (Winkler Declaration) and B
                                               12   (del Castillo Declaration).
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                                               13             The Receiver respectfully submits that the Appointment Order is clear on its face, and that the
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                  Telephone: (702) 792-3773
                  Las Vegas, Nevada 89135
                   10845 Griffith Peak Drive




                                               14   requested turnover of funds is not merely required, but fundamental to the very purpose of the instant
                           Suite 600




                                               15   receivership. In that respect, it is the Receiver’s obligation to identify and collect receivership assets,
                                               16   including funds held by the Receivership Defendants with their respective counsel. If and when a
                                               17   Receivership Defendant’s counsel seeks payment for legal services, then they can apply to the Court
                                               18   for the release of the same. It is not, however, for the Receivership Defendants or their attorneys to
                                               19   unilaterally determine what qualifies as receivership assets or decide if, when, and how much they

                                               20   will turn over, or otherwise place conditions upon their compliance with the Appointment Order.

                                               21   Given the undeniable violation of the specific and definite order of this Court that the funds be turned

                                               22   over to the Receiver, an order to show cause should issue and a finding of civil contempt is warranted.

                                               23                                II.     RELEVANT FACTUAL BACKGROUND

                                               24             On June 3, 2022, this Court entered the Appointment Order, Sections II and IV of which

                                               25   provide “[a]ll persons and entities having control, custody or possession of any Receivership Property

                                               26   are hereby directed to turn such property over to the Receiver” and “[t]he Receiver is authorized to

                                               27

                                               28   2
                                                        See, Exhibit A (Winkler Declaration at ¶ 7.)
                                                                                                         4
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                                                1   take immediate control of all personal property of the Receivership Defendants[.]” ECF No. 88.

                                                2   Section III of the Appointment Order further obligates individuals and entities in receipt of the

                                                3   Appointment Order to “[c]ooperate expeditiously in providing information and transferring funds,

                                                4   assets and accounts to the Receiver or at the direction of the Receiver.” Id.

                                                5             On June 5, 2022, Kevin Anderson, Esq., counsel for Judd, sent email correspondence to the

                                                6   Receiver in which he advised:

                                                7                     “The Court’s June 3, 2022 Order Appointing Receiver is not clear on its
                                                                      effect on the Court’s April 21, 2022 Order Entering Preliminary Injunction,
                                                8                     Asset Freeze, and other Equitable Relief. Is the Receiver now in charge of
                                                                      the use of funds for Mr. Judd’s attorneys’ fees and costs? The release of
                                                9
                                                                      funds held by attorneys to allow for representation of Mr. Judd needs to be
                                               10                     resolved immediately. Mr. Judd is entitled to legal representation in the
                                                                      ongoing criminal investigations, the SEC’s civil enforcement case, and in
                                               11                     connection with any police or regulatory actions of the SEC not stayed by
                                                                      the Court, as well as any other actions the Receiver may take, in consultation
                                               12                     with SEC counsel affecting Mr. Judd’s assets, livelihood, and ‘pursuit of
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                                                                      Happiness.’
                                               13
                  Facsimile: (702) 792-9002
                  Telephone: (702) 792-3773
                  Las Vegas, Nevada 89135
                   10845 Griffith Peak Drive




                                               14                     Same question with regard to any allowance for necessary and reasonable
                           Suite 600




                                                                      living expenses.” 3
                                               15   Ex. C.
                                               16             On June 6, 2022, via video conference and in a subsequent telephone call, the Receiver and
                                               17   his proposed counsel conferred with Mr. Anderson, who was already in receipt of the Appointment
                                               18   Order, and requested the turnover of the funds in issue here. 4 Mr. Anderson acknowledged that his
                                               19   firm, Fabian VanCott, is holding funds as a retainer, advance fee, or client trust account balance in
                                               20   connection with its service as Judd’s counsel, which funds the Receiver presently understands total
                                               21   at least $750,000.00. 5 During the two June 6th discussions, Mr. Anderson indicated he did not agree
                                               22   with the Receiver’s position that the Appointment Order required the turnover of funds to the
                                               23   Receiver, and indicated that his firm would decline to turn over the funds in its possession, and might
                                               24   petition the Court for further instructions, or otherwise take action to challenge the Receiver’s
                                               25

                                               26

                                               27   3
                                                        Exhibit C, June 5, 2022 Email Correspondence from Kevin N. Anderson.
                                                    4
                                                        Exhibit A (Winkler Declaration ) at ¶ 5, and Exhibit B ( “del Castillo Declaration”) at ¶ 4.
                                               28   5
                                                        Ex. A at ¶ 7 and Ex. B at ¶ 6.
                                                                                                            5
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                                                1   turnover request. 6 On June 7, 2022, the Receiver's proposed counsel sent a written demand for

                                                2   turnover. 7

                                                3           On the evening June 9, 2022, a response was provided by Mr. Anderson, a true and correct

                                                4   copy of which is attached hereto as Exhibit E. Therein, and among other things, Mr. Anderson

                                                5   reiterated his position that the terms of the Appointment Order were incompatible with procedures

                                                6   previously developed in this matter and did not compel the turnover of client trust funds absent a

                                                7   further order of the Court. 8 Proposed counsel for the Receiver responded to the same and reiterated

                                                8   the Receiver's position and interpretation of the Appointment Order, and sought to address the issues

                                                9   raised in Mr. Anderson's June 9, 2022 correspondence. 9 Additionally, Mr. Anderson was advised
                                               10   that because the parties were at an impasse, an appropriate motion would be forthcoming. 10
                                               11                                      III.    LEGAL ARGUMENT

                                               12           An order compelling Judd and/or his agents to deliver accounts and assets to the Receiver is
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                                               13   warranted.    Additionally, the court has the ability to issue an order to show cause why the
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                  Telephone: (702) 792-3773
                  Las Vegas, Nevada 89135
                   10845 Griffith Peak Drive




                                               14   Appointment Order is not being followed. “Courts have inherent power to enforce compliance with
                           Suite 600




                                               15   their lawful orders through civil contempt.” Shillitani v. United States, 384 U.S. 364, 370 (1966).

                                               16   To hold a party in civil contempt, “the moving party has the burden of showing by clear and

                                               17   convincing evidence that the [nonmoving party] violated a specific and definite order of the court.”

                                               18   FTC v. Affordable Media, LLC, 179 F.3d 1228, 1239 (9th Cir. 1999) (quoting, Stone v. City and

                                               19   County of San Francisco, 968 F.2d 850, 856 n. 9 (9th Cir, 1992)); see also In re Dual-Deck Video

                                               20   Cassette Recorder Antitrust Litig., 10 F.3d 693, 695 (9th Cir. 1993) (“Civil contempt…consists of a

                                               21   part’s disobedience to a specific and definite court order by failure to take all reasonable steps within

                                               22   the party’s power to comply.”). In this context, “[c]lear and convincing evidence means evidence

                                               23   sufficient to support a finding of ‘high probability’”. Waits v. Frito-Lay, Inc., 978 F.2d 1093, 1105

                                               24   (9th Cir. 1992), abrogated by Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118,

                                               25

                                               26
                                                    6
                                                       Ex. A at ¶ 6 and Ex. B at ¶ ¶ 7 – 10.
                                                    7
                                                       Ex. B at ¶ 11 and Exhibit D (June 7, 2022 Correspondence to Kevin Anderson).
                                               27   8
                                                       Ex. B, ¶ 12.
                                                    9
                                                       Id. at ¶ 13 and Exhibit F attached hereto.
                                               28   10
                                                        Id.
                                                                                                       6
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                                                1   134 S.Ct. 1377 (2014). Upon a demonstration that a specific and definite order was violated, “[t]he

                                                2   burden then shifts to the contemnors to demonstrate why they were unable to comply.” Affordable

                                                3   Media, 179 F.3d at 1239. 11

                                                4           When construing an order, the court shall look to the “natural reading of its text.” Ruiz v.

                                                5   Snohomish Cnty. Pub. Util. Dist. No. 1, 824 F.3d 1161, 1167 (9th Cir. 2016). “If the judgment is

                                                6   unambiguous, the court may not consider ‘extraneous’ evidence to explain it.’ Narramore v. United

                                                7   States, 852 F.2d 485, 490 (9th Cir. 1988) (internal citations omitted). Moreover, as the Ninth Circuit’s

                                                8   holding in F.T.C. v. Network Servs. Depot, Inc., 617 F.3d 1127 (9th Cir. 2010) recognizes, “[a]n

                                                9   attorney is an ‘officer of the court’ who, by virtue of his or her professional position, undertakes
                                               10   certain ‘special duties ... to avoid conduct that undermines the integrity of the adjudicative process.”
                                               11   Network Servs. at 1143, see also S.E.C. v. Fujinaga and MRI Int’l, Inc., No. 2-13-cv-1658-JCM-
                                               12   CWH, 2020 WL 3050713 at *3 (D. Nev. June 8, 2020).
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                                               13           Here, the plain and natural language of the Appointment order is clear: “[a]ll persons and
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                  Telephone: (702) 792-3773
                  Las Vegas, Nevada 89135
                   10845 Griffith Peak Drive




                                               14   entities having control, custody or possession of any Receivership Property are hereby directed to
                           Suite 600




                                               15   turn such property over to the Receiver” and “[t]he Receiver is authorized to take immediate control
                                               16   of all personal property of the Receivership Defendants[.]” ECF No. 88 at ¶¶ 15-22. Indeed, further
                                               17   supporting the Receiver’s position is the fact that the Appointment Order expressly defines
                                               18   “Receivership Property” as:
                                               19                   all property interests of the Receivership Defendants, including, but not
                                                                    limited to, monies funds, securities, credits, effects, goods, chattels, lands,
                                               20                   premises, leases, claims, rights and other assets, together with all rents,
                                                                    profits, dividends, interest or other income attributable thereto, of whatever
                                               21
                                                                    kind, the Receivership Defendants own, possess, have a beneficial interest
                                               22                   in, or control directly or indirectly. ECF No. 88 at ¶ 7(A).

                                               23           Moreover, paragraphs 16 and 17 of the Appointment Order are clear in requiring persons
                                               24   acting for or on behalf of the Receivership Defendants that have possession of receivership property
                                               25
                                                    11
                                                        The Ninth Circuit has found contempt sanctions are not warranted when a party’s action (or inaction)
                                               26   “appears to be based on a good faith and reasonable interpretation” of the Court’s order. Vertex Distrib., Inc.
                                                    v. Falcon Foam Plastics, Inc., 689 F.2d 885, 889 (9th Cir. 1982). Relevant to the instant application, Judd
                                               27   has not demonstrated any good cause for their inaction and Judd’s position contradicts the clear terms of the
                                                    Application Order. Indeed, based on prior correspondence with Judd’s counsel, Judd appears to be operating
                                               28   under the belief that the funds currently held by Fabian VanCott are excepted from the turnover provisions of
                                                    the Appointment Order solely because Mr. Judd is entitled to legal representation. See Exhs. A-C.
                                                                                                          7
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                                                1   to deliver the same to the Receiver. Specifically, paragraph 16 provides that “any persons acting for

                                                2   or on behalf of the Receivership Defendants, and any persons receiving notice of this Order … having

                                                3   possession of the property … accounts or assets of the Receivership Defendants are hereby directed

                                                4   to deliver the same to the Receiver.” Id. at ¶ 16. In other words, Paragraph 16 requires any non-

                                                5   defendant third party holding assets of any Receivership Defendant (including the Individual

                                                6   Defendants) to turn over those assets to the Receiver. Paragraph 17 then provides a series of

                                                7   directives regarding the treatment of assets held by third parties, including cooperating “expeditiously

                                                8   in providing information and transferring funds, assets and accounts to the Receiver[.]” Id. at ¶ 17.

                                                9           There can be no good faith argument that the terms of the Appointment Order are vague or
                                               10   ambiguous in any way with respect to funds transferred from Judd to Fabian VanCott—a fact admitted
                                               11   by Mr. Anderson. Similarly, it is clear that Fabian VanCott is required to deliver the funds to the
                                               12   Receiver. Thus, under the clear terms of the Appointment Order, any such funds are subject to the
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                                               13   turnover provisions of the Appointment Order and Judd and/or his counsel’s failure or refusal to
                  Facsimile: (702) 792-9002
                  Telephone: (702) 792-3773
                  Las Vegas, Nevada 89135
                   10845 Griffith Peak Drive




                                               14   comply therewith warrants compelling the delivery of the funds to the Receiver and/or subjects Judd
                           Suite 600




                                               15   and those acting on his behalf to civil contempt to enforce compliance with the Appointment Order. 12
                                               16   See Shillitani, 384 U.S. at 370. In an instance such as this, an attorney has an affirmative duty to act

                                               17   in a manner that adheres to, and upholds, the terms of a court’s order. In fact, this Court has previously

                                               18   found, in a situation strikingly similar to this, “[a]n attorney is an ‘officer of the court’ who, by virtue

                                               19   of his or her professional position, undertakes certain ‘special duties … to avoid conduct that

                                               20   undermines the integrity of the adjudicative process.’” S.E.C. v. Fujinaga and MRI Int’l, Inc., No. 2-

                                               21   13-cv-1658-JCM-CWH, 2020 WL 3050713 at *3 (D. Nev. June 8, 2020) (quoting, F.T.C. v. Network

                                               22   Servs. Depot, Inc., 617 F. 3d 1127 (9th Cir. 2010)). In Fujinaga, this Court considered whether funds

                                               23   paid to a law firm by a relief defendant in an action to recover ponzi scheme funds were subject to

                                               24   the terms of a temporary restraining order and preliminary injunction and emphasized the attorney’s

                                               25   obligation to ensure compliance with a court’s order. Fujinaga, 2020 WL 3050713 at *3. Ultimately,

                                               26   the court found that the firm receiving the funds had an affirmative obligation to ensure those funds

                                               27

                                               28   12
                                                      At this juncture it is not clear if the funds are be held by the Fabian VanCott firm at the request of Judd.
                                                    Regardless, such funds must be provided to the Receiver.
                                                                                                          8
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                                                1   were not subject to the terms of the court’s order and by failing to do so, the firm was in contempt of

                                                2   the court’s order. Id.

                                                3            Applying the holding in Fujinaga to the instant matter, it is abundantly clear that by failing

                                                4   and/or refusing to turn over the funds in accordance with the Receiver’s demand, Judd and/or the

                                                5   Fabian Vanott firm have willingly violated the terms of the Appointment Order and an order to show

                                                6   cause and finding of civil contempt is warranted. The mere fact that Mr. Judd is entitled to legal

                                                7   representation does not except the funds at issue from the Receiver’s control—something

                                                8   Mr. Anderson and his firm had an affirmative obligation to consider. See, Fujinaga, 2020 WL

                                                9   3050713 at *3. Judd and/or his counsel’s refusal to turn over said funds constitutes a willful violation
                                               10   of the specific and definite order of this Court. As such, an order compelling the delivery of funds
                                               11   Judd provided to Fabian VanCott to the Receiver is warranted. Alternatively, the Court should issue
                                               12   an order to show cause and absent good cause, a finding of civil contempt is warranted.
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                                               13                                          IV.     CONCLUSION
                  Facsimile: (702) 792-9002
                  Telephone: (702) 792-3773
                  Las Vegas, Nevada 89135
                   10845 Griffith Peak Drive




                                               14            For the foregoing reasons, the Receiver respectfully requests this Court enter an Order
                           Suite 600




                                               15   Compelling Delivery of funds to the Receiver or the issuance of a show cause order as to why Judd
                                               16   and/or those acting on his behalf should not be held in civil contempt for violating the Appointment
                                               17   Order.
                                               18            DATED this 10th day of June, 2022.
                                               19                                                           GREENBERG TRAURIG, LLP

                                               20
                                                                                                      By:    /s/ Kara B. Hendricks
                                               21                                                            KARA B. HENDRICKS, ESQ.
                                                                                                             Nevada Bar No. 07743
                                               22                                                            JASON K. HICKS, ESQ.
                                                                                                             Nevada Bar No. 13149
                                               23                                                            KYLE A. EWING, ESQ.
                                                                                                             Nevada Bar No. 014051
                                               24
                                                                                                             Attorneys for Geoff Winkler, Receiver for
                                               25                                                            J&J Consulting Services, Inc., J&J
                                                                                                             Consulting Services, Inc., J and J
                                               26                                                            Purchasing LLC, The Judd Irrevocable
                                                                                                             Trust, and BJ Holdings LLC
                                               27

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                                                                                                       9
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                                                1                                     CERTIFICATE OF SERVICE

                                                2           I hereby certify that on June 10, 2022, I caused the foregoing document to be electronically

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                                                5                                                                 /s/ Evelyn Escobar-Gaddi
                                                                                                          An employee of GREENBERG TRAURIG, LLP
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GREENBERG TRAURIG, LLP




                                               13
                  Facsimile: (702) 792-9002
                  Telephone: (702) 792-3773
                  Las Vegas, Nevada 89135
                   10845 Griffith Peak Drive




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                           Suite 600




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